                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


OWNERS INSURANCE COMPANY                      )
                                              )
                     Plaintiff,               )
                                              )
vs.                                           )   Case No. 18-CV-104-NJR-RJD
                                              )
DRAKE HOMES CORPORATION and                   )
SARAH BUSH LINCOLN HEALTH                     )
CENTER,                                       )
                                              )
                     Defendants.              )

                         MEMORANDUM AND ORDER

ROSENSTENGEL, District Judge:

       This matter is currently before the Court on Plaintiff Owners Insurance

Company’s Amended Motion for Default Judgment against Defendant Drake Homes

Corporation (Doc. 23). For the following reasons, the motion is granted.

       Owners Insurance issued a commercial liability policy of insurance to Drake

Homes for the period of September 30, 2012, to September 30, 2013. In February 2013,

during the policy period, Drake Homes contracted with Sarah Bush Lincoln Health

Center to construct a medical clinic in Charleston, Illinois. The plans for the medical

clinic required Drake Homes and its subcontractors to install a vapor barrier prior to

pouring the concrete flooring, but the vapor barrier was not installed. As a result,

moisture transmitted through the concrete and into the tile flooring, which caused the

tile flooring to fail. Sarah Bush Lincoln estimates damages in excess of $100,000.

       Sarah Bush Lincoln filed a claim for its loss on the insurance policy issued by

Owners Insurance to Drake Homes. The alleged date of Sarah Bush Lincoln’s loss was

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March 13, 2013, which places the date of loss within the effective dates of the policy. The

policy, however, contains an exclusion for claims for property damage arising out of

work that was incorrectly performed by Drake Homes or its subcontractors. Based on

that exclusion, Owners Insurance filed this lawsuit seeking a declaratory judgment that

it has no obligation to defend or indemnify Drake Homes for the claim asserted by Sarah

Bush Lincoln.

       The complaint in this case was filed on January 18, 2018 (Doc. 1). Summons was

issued, and Drake Homes was served on February 5, 2018 (Doc. 8). Drake Homes has not

appeared in this action and did not file an answer or otherwise respond to the complaint

by the deadline. Based on that failure, Owners Insurance secured an entry of default

against Drake Homes under Federal Rule of Civil Procedure 55(a) on April 17, 2018

(Doc. 20). Owners Insurance then filed a motion seeking default judgment against Drake

Homes under Rule 55(b)(2) on April 24, 2018 (Doc. 21). The motion, however, did not

comport with the Local Rules in that it did not certify to the Court that notice of the entry

of default and the motion for default judgment were mailed to the last known address of

Drake Homes and to the attorney thought to represent Drake Homes (see Docs. 21, 22).

SDIL-LR 55.1. Owners Insurance has since filed an amended motion that contains the

required certifications (Doc. 23, p. 3).

       The Court notes that Sarah Bush Lincoln did not file a response or otherwise

object to Owners Insurance’s request for default judgment against Drake Homes. Rather,

Sarah Bush Lincoln previously advised the Court that it is only “a nominal Defendant in

this declaratory judgment action,” it “has no interest or stake in the outcome of the

declaratory judgment action,” and it “agrees to be bound by the findings of this Court as

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it relates to insurance coverage” (Doc. 11).

       The Court has carefully reviewed the Complaint and the insurance policy at issue

and concludes that Owners Insurance has demonstrated that it is entitled to default

judgment against Drake Homes. Accordingly, the Amended Motion for Default

Judgment against Drake Homes (Doc. 23) is GRANTED, and the Court DECLARES that

Owners Insurance Company has no duty to defend or indemnify Drake Homes

Corporation as to any claims made by Sarah Bush Lincoln Health Center that arise out of

the commercial construction project between Drake Homes Corporation and Sarah Bush

Lincoln Health Center. Owners Insurance shall recover costs from Drake Homes

Corporation.

       In light of Sarah Bush Lincoln’s previous agreement to be bound by the Court’s

findings, this Order resolves all claims against all parties. There being nothing further

before the Court, the Clerk of Court is DIRECTED to enter judgment in accordance with

this Order.

       IT IS SO ORDERED.

       DATED: July 12, 2018


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                                                NANCY J. ROSENSTENGEL
                                                United States District Judge




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